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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF PENNSYLVANIA

IN THE MATTER OF THE APPLICATION
OF THE UNITED STATES OF AMERICA
FOR AN ORDER AUTHORIZING THE
INSTALLATION AND USE OF A

PEN REGISTER AND TRAP & TRACE

)

) MAGISTRATE NO. (Q-ISYM

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)
DEVICE AND THE DISCLOSURE OF )

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)

)

[UNDER SEAL]
STORED ELECTRONIC
AND TRANSACTIONAL RECORDS FOR

A PARTICULAR FACEBOOK. COM
ACCOUNT

APPLICATION

The United States of America, by and through Craig W. Haller,
Assistant United States Attorney for the Western District of
Pennsylvania, applies to the Court for an Order authorizing the
installation and use of a pen register and trap and trace device
and directing the disclosure of stored electronic and transactional
records reflecting access to the Facebook.com account with user ID
number 100003236483710 (“the Subject Account”). The purpose of the
proposed order is to gather information from the Subject Account
that will lead to the capture of Kenneth Konias. In support of
this application, the United States offers the following:

1. I am an “attorney for the government" as defined in the
Federal Rules of Criminal Procedure and, therefore, pursuant to
Title 18, United States Code, Section 3122, may apply for an Order
authorizing the installation and use of a pen register and trap and

trace device.

 

 
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2. I certify that the Federal Bureau of Investigation (“FBI”)
is attempting to locate Kenneth Konias who is suspected of
violating 18 U.S.C. §§ 924 and 1951, among other statutes. I also
certify that the information likely to be obtained from the pen
register and trap and trace device is relevant to an ongoing
criminal investigation of Konias. In support of the request for an
Order directing the disclosure of stored electronic and
transactional records, I state, based upon information provided to
me by the Federal Bureau of Investigation, that the Subject Account
is Konias’s account and has been used by Konias. In fact, review
of publicly accessible information on the account reveals Konias’s
image and employment data that is consistent with Konias’s recent
employment history. Information gained from the proposed pen
register and trap and trace device and from disclosure of stored
electronic and transactional records relating to the Subject
Account will assist the Federal Bureau of Investigation locate
Konias when the account is accessed.

3. In the traditional telephone context, a pen register and
trap and trace device collects origin and destination information
such as the telephone numbers dialed for a particular telephone
call. The same principles apply in the context of internet
communications - a pen register and trap and trace device collects
addressing information pertaining to packets of Internet traffic,
analogous to “to” and “from” addresses for traditional letters and

origin and destination telephone numbers for telephone calls. This

 

 
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application does not seek authority to intercept the content of any
electronic communications.

4. I request that the Court issue an Order authorizing the
installation and use of a pen register and trap and trace device to
capture routing, addressing, and signaling information pertaining
to, for example, packets of Internet traffic, such as the packet
header and mail header information (but not the subject lines of e-
mails), associated with the transmission of communications and
other data to and from the Subject Account and for any Internet
Service Accounts identified as logging into the administrative
features (via username and password) of the Subject Account; to
record the header information, including internet protocol (“IP”)
addresses, and date, time, duration, and physical and virtual
locations of the initiation and receipt of such transmissions (“IP
Logs”); and all Internet connections receiving such data
(“Connection Logs”), without geographic limit; all for a period of
60 days from the date of the Order.

5. Applicant further requests that the Order direct the
furnishing of information, facilities, and technical assistance
necessary (to include assigning a static IP address to Internet
Service Accounts accessing the Subject Account if requested) to
accomplish the installation of the pen register and trap and trace
device unobtrusively and with reasonable compensation to be paid
for reasonable expenses incurred in providing such facilities and

assistance.

 

 
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6. I further request, pursuant to Title 18, United States
Code, Sections 2703(c) and (d), that Facebook.com be directed to
disclose the following record information pertaining to the Subject
Account for the period from February 1, 2012, to the present: (a)
any name listed with the account, (b) any address listed with the
account (including any email address(es)), (c) local and long
distance telephone connection records, and records of session times
and durations, (d) length of service (including start date) and
types of service utilized, (e) telephone or instrument number or
other subscriber number or identity, including any temporarily
assigned network address, and (f) means and source of payment for
such service (including any credit card or bank account number).

7. I further request, pursuant to Title 18, United States
Code, Sections 2703(c) and (da), that any other person or entity
providing wire or electronic communication service in the United
States whose assistance may facilitate the execution of the Order
provide agents with all subscriber/account information concerning
the Subject Account, including the subscriber/account information
for internet service accounts used to access the Subject Account.

8. In support of this request for subscriber/account
information, I state that, based on the information set forth
herein, there are specific and articulated facts showing that there
are reasonable grounds to believe that the contents of the
requested records and information are both relevant and material to

an ongoing criminal investigation; and that the requested records

 

 
 

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will assist law enforcement agents.

9. I further request, pursuant to Title 18, United States
Code, Sections 2703(c) and (d), that the internet service and mail
providers assigned the IP addresses and email addresses captured
via the pen register and trap and trace device provide all non-
content information concerning the accounts assigned the specific
IP addresses and/or email addresses at the specific dates and
times, to include, without limitation, all subscriber information,
caller identification / ANI information (if the account is a dial
up account), or physical termination point information if the
account is Cable, DSL, ISDN, Tl, or the like. In support of this
request for account information, I certify that, based on the
information set forth herein, there are specific and articulated
facts showing that there are reasonable grounds to believe that the
requested records and information are relevant and material to an
ongoing criminal investigation. That is, that Kenneth Konias
violated the federal statutes listed above, his location is
currently not known, the Subject Account is his Facebook Account,
and the information requested herein is likely to indicate his
current location as he accesses his account.

10. I further request that Facebook.com, and any internet
service and mail providers to whom a request for information is
made pursuant to the proposed Order, be directed not to disclose
the existence of the proposed Order, its execution, or the

underlying investigation except as necessary to execute the

 

 
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proposed Order. Disclosure of the proposed Order, its execution,
or the underlying investigation would likely cause the suspect to
stop using the Subject Account and thereby significantly hinder
attempts to locate him. It is further respectfully requested for
the reasons stated herein that all applications and orders and
other papers filed with or concerning this application be ordered

sealed until further notice.

Ci W. bkhhy~
CRAIG W. HALLER

Assistant U.S. Attorney
PA ID No. 87714

 

Sworn and subscribed to before me
this lst day of March 2012.

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PITTSBURGH CITY, ALLEGNENY CounTy
Commission Expires on 18 ootn 20ts

 

 
